Case 1-23-43177-jmm   Doc 1   Filed 09/05/23   Entered 09/05/23 16:34:50
Case 1-23-43177-jmm   Doc 1   Filed 09/05/23   Entered 09/05/23 16:34:50




            1800   TROY AVENUE




            BROOKLYN             N.Y 11234

            KINGS
Case 1-23-43177-jmm   Doc 1   Filed 09/05/23   Entered 09/05/23 16:34:50




                      NY Eastern               01/24/2023       1:2023bk40204
Case 1-23-43177-jmm   Doc 1   Filed 09/05/23   Entered 09/05/23 16:34:50
Case 1-23-43177-jmm   Doc 1   Filed 09/05/23   Entered 09/05/23 16:34:50
Case 1-23-43177-jmm   Doc 1   Filed 09/05/23   Entered 09/05/23 16:34:50




                      09/05/2023
Case 1-23-43177-jmm    Doc 1   Filed 09/05/23   Entered 09/05/23 16:34:50




  __________________
   09/05/2023
Case 1-23-43177-jmm   Doc 1   Filed 09/05/23   Entered 09/05/23 16:34:50




                       09/05/2023
